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3
                                   UNITED STATES DISTRICT COURT
4
                                  SOUTHERN DISTRICT OF CALIFORNIA
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     THE KOALA,                                             Case No.: 16cv1296-JM(BLM)
7                                          Plaintiff,
                                                            ORDER CONFIRMING SETTLEMENT
8    v.                                                     AND SETTING DEADLINE TO FILE
                                                            JOINT MOTION FOR DISMISSAL
9    PRADEEP KHOSLA, in his official capacity as
     Chancellor of the University of California, San
10
     Diego, et al.,
11                                      Defendant.
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14         In a notice of impending settlement dated July 23, 2020, counsel for Plaintiff informed
15   the Court that “the parties have reached agreement on the terms of a settlement.” ECF No. 71.
16   Because the case has settled, all other pending dates before Magistrate Judge Major, including
17   the July 28, 2020 case management conference, are hereby vacated. Any matters currently
18   scheduled before the district judge shall remain in effect pending notice from that court.
19         The parties are ordered to file their joint motion for dismissal of this case, signed by
20   counsel of record and any unrepresented parties, no later than September 8, 2020.               A
21   proposed order on the joint motion for dismissal must be e-mailed to the district judge's
22   chambers1 on the same day. If the signed joint motion for dismissal is timely filed, the parties
23   and attorneys are not required to make any further appearances before Judge Major.
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27     The proposed order shall be e-mailed pursuant to section 2(h) of the United States District
     Court for the Southern District of California's Electronic Case Filing Administrative Policies and
28   Procedures Manual, available at www.casd.uscourts.gov.

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1           If the fully executed joint motion for dismissal is not filed by September 8, 2020, then
2    all counsel of record and unrepresented parties are required to appear in person for a Settlement
3    Disposition Conference. The Settlement Disposition Conference will be held on September 15,
4    2020 at 9:30 a.m. in Courtroom 3A.
5           If counsel of record or any unrepresented party fails to appear at the Settlement
6    Disposition Conference, or the parties fail to file the signed joint motion for dismissal in a timely
7    manner, the Court will issue an order to show cause why sanctions should not be imposed for
8    failing to comply with this Order.
9          IT IS SO ORDERED.
10   Dated: 7/23/2020

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